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                              Exhibit 1
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    Huddleston v. FBI

    From: Parker, Andrea (USATXE) (andrea.parker@usdoj.gov)

    To:    tyclevenger@yahoo.com

    Date: Wednesday, December 9, 2020, 11:38 AM EST



    Ty,



    I have heard back from FBI agency counsel regarding the status of the search and a summary of the work left to do:



    FBI has completed the initial search identifying approximately 50 cross-reference serials, with attachments totaling over
    20,000 pages, in which Seth Rich is mentioned. FBI has also located leads that indicate additional potential records that
    require further searching. At this time, FBI anticipates processing only the pages where Seth Rich is
    mentioned, along with perhaps another page or two in each situation to provide context. The
    issue right now with this batch of documents is the amount of labor required to ingest all of the
    material so that the responsive pages will, first, be in a page format, secondly, can be identified
    from among the thousands of non-responsive pages, and finally, be processed.


    FBI is also currently working on getting the files from Seth Rich's personal laptop into a format to
    be reviewed. As you can imagine, there are thousands of files of many types. The goal right
    now is to describe, generally, the types of files/personal information contained in this computer.
    Furthermore, the FBI will continue to evaluate the responsiveness of these files under the FOIA.


    In summary, FBI has made significant progress in the search, but there is still much work that lies
    ahead, including (1) ) processing the approximately 50 cross-references (with thousands of pages
    to ingest and sort through), 2) undertaking some level of review of the personal laptop, and 3)
    completing all remaining searches.


    Unfortunately, these efforts are hampered by FBI FOIA office’s reduction to a 50% staffing posture
    due to Covid.


    In light of the status of this search and the work left to be done, we propose an additional 3
    months to complete the tasks described above. At that time, we will propose a production
    schedule and briefing schedule.


    I would like to provide this status update to the Court with the proposed schedule. Please let me
    know if you would like to file something jointly with the Court, or if you would prefer that I file this
    and you can respond accordingly.



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    Thanks,




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